2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 1 of 10   Pg ID 14




                  EXHIBIT A
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 2 of 10   Pg ID 15
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 3 of 10   Pg ID 16
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 4 of 10   Pg ID 17
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 5 of 10   Pg ID 18
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 6 of 10   Pg ID 19
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 7 of 10   Pg ID 20
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 8 of 10   Pg ID 21
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 9 of 10   Pg ID 22
2:17-cv-10559-RHC-MKM Doc # 1-2 Filed 02/22/17 Pg 10 of 10   Pg ID 23
